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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

No. 07-cv-5944-SC
IN RE CATHODE RAY TUBE (CRT) : MDL No. 1917
ANTITRUST LITIGATION

Judge: Hon. Samuel Conti

Special Master: Hon. Charles A. Legge (Ret.)

This Document Relates to: :
1] i (Proposed)
ALL CASES : ORDER GRANTING APPLICATION FOR
; ADMISSION OF ATTORNEY PRO HAC VICE

Ryan C, Zagare, an active member in good standing of the bar of the State of Florida, whose
business address and telephone number is Kenny Nachwalter, P.A., 201 S. Biscayne Boulevard, Suite
1100, Miami, Florida 33131; Tel: (305) 373-1000, having applied in the above-entitled action for
|| Soseisaon to practice in the Northern District of California on a pro hac vice basis, representing Sears

Roebuck and Co. and Kmart Corp.

(Proposed)
ORDER GRANTING APPLICATION FOR CASE NO: 07-5944-SC
ADMISSION ATTORNEY PRO HAC VICE l MDL No. 1917

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IT IS HEREBY ORDERED THAT the application is granted, subject to the terms and conditions
of Civil L.R. 11-3. All papers filed by the attorney must indicate appearance pro hac vice. Service of
papers upon and communication with co-counsel designated in the application will constitute notice to the

party. All future filings in this action are subject to the requirements contained in General Order No. 45,

Electronic Case Filing.

Dated:

The Honorable Samuel Conti

4484311

(Proposed)
ORDER GRANTING APPLICATION FOR CASE NO: 07-5944-SC
ADMISSION ATTORNEY PRO HAC VICE 2 MDL No. 1917

